                         Case 5:20-mj-01378-CG Document 1 Filed 08/05/20 Page 1 of 4

 AO   9l @ev. 11/ll) Criminal Complainr
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                                        UNnBo SrarBs Drsrrucr Couni
                                                                  for the                                     AUG 0     5    2020

                                                          District of NewMexico
                                                                                            ffiil   rurcHELL R. ELFERS
                   United States of America                                                             CLERK OF COURT
                                   V.
                         Bllly Granger Jr                                    caseNo,
                                                                                            AO-          mS-            l3r1        I

                            Defendant(s)


                                                   CRIMINAL COMPLAINT
           I, the complaiuant in this case, state that the following is true to the best of my knowledge and belief.
 On or about the date(s)      of                July   24,2020              in the county   of                                          in the
                        District   of        New Mexico          , the defendant(s) violated:
              Code Section                                                     Offense Description



18 U.S.c. g 875(c)                              whoever transmits in interstate or foreign commerce any communication
                                                containing any threat to kidnap any person or any threafto injure the person
                                                of another, shall be fined under this tifle or imprisoned not more than iive
                                                years, or both.



        This criminal complaint is based on these facts:
See attached afiidavlt




          d   Continued on the attaohed sheet.




                                                                                        Tony Rahlf, SpecialAgent, FBI
                                                                                                    Printed name and title

Sworn to before me and signed in my presence.




City and state:                            Roswell, NM                          Barbara Evans, United States Magistrate Judge
                                                                                                    Prlnted name and title
                 Case 5:20-mj-01378-CG Document 1 Filed 08/05/20 Page 2 of 4




                              IN THE UNITED STATES DISTRICT COURT
                                         FOR NEW MEXiCO



 IN THE MATTER OF:
 I'NITED STATES
                                                      Case No.



 BILLY GRANGER JR


                     AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT


        I, Tony C. Rahlf, being first duly sworn, depose and state:


        1'   I   am a Special Agent (SA) of the Federal Bureau of Investigation (FBI), United States

Department of Justice, and have been employed in this capacity since May of 2016,I have

received law enforcement training from the FBI Academy at Quantico, Virginia.         I   am cuuently

assigned to the Albuquerque, New Mexico Division, Roswell Resident Agency (RRA) of the

FBI, where I conduct a variety of investigations in the area of violent crimes. Additionally, I

have previously served in an active duty capacity with the military at the United States Cyber

Command, where I received extensive training and education on cyber matters, to include use of

internet applications, such as email, to conduct illegal activity.


       2.My responsibilities include      the investigation of federal crimes, including threatening

communications transmitted over interstate commerce. I am curtently assigned to investigate

Billy Granger Jr, whom it is believed sent an email containing a bomb threat to the work email

address of an employee atNor-Lea Hospital, 1600 N Main Street, Lovington,          NM 88260.
            Case 5:20-mj-01378-CG Document 1 Filed 08/05/20 Page 3 of 4




        3. On July 24,2020 at approximately 12:08 am, an email was sent from the Gmail

account "asurion9l l@gmail.com" to the email address 'Jordan,benard@nlgh.org,,, which

belonged to Jordan Benard, Marketing Manager at Nor-Lea Hospital, The email had a subject

line reading "313-393-8189 CALL IMMEDIATELY" and the body of the email read "Bomb

Tfueat." The name ascribed to o'asudongll,@gmaiLcom" was displayed as "Billy G Granger Jr."


       4. At approximately 8:15 am on the same day, Nor-Lea Hospital staff notified Lovington

Police Department (LPD) of the incident. LPD officers arrived and conducted a sweep of the

facility and did not find any bomb devices.


       5. On the same day, LPD officers were then dispatched to locate    Billy Granger Jr, who

was known to reside in an RV camper parked at 305 W Tyler, Lovington,       NM. LPD officers

made contact   with Granger, who upon seeing the offrcers immediately asked if he was going to

jail. Granger was transported to LPD headquarters for further questioning. Granger was then

interviewed by LPD detectives,


       6. During the interview, Granger sent four separate emails from his personal cellglar

phone to the interviewing detectives. The emails came from "asurion91l@gmail.com" with the

associated name   "Billy   G Granger Jr." Granger asked detectives if they were questioning him

regarding the "bomb threat" email. Granger then voluntarily showed the detectives the email on

his cellular phone. Granger stated he sent the email because "they" were threatening hirn.


       7. Information received from the Safety Security Officer at Nor-Lea Hospital showed that

Granger has made threats to Nor-Lea staff in the past. Due to previous threats that Granger made

to staffat the Nor-Lea Hospital, the hospital prohibited him from entering onto the Nor-Lea
              Case 5:20-mj-01378-CG Document 1 Filed 08/05/20 Page 4 of 4




ciunpus. Nonetheless, Granger still attempts to mahe appointments at Nor-Lea and tiequently

shows up unexpectedly. Whenever Granger comes to the campus, he is escorted         offthe property

by security staff.


          8. Based on my training and experience, I know that Gmail is an intemet-based email

service provided by Google LLC. Emails sent through Gmail are routed through servers owned

by Google LLC before reaching the intended recipient. Google LLC does not house any of its

US-based servers within the state of New Mexico, An Ernail sent from a Gmail user in New

Mexico will thus be routed to servers across state lines during its transmission. Furthermore, a

New Mexico-based recipient of a Gmail message will have received the email from one of

Google LLC's servers located across state lines.


          9. Based on the above information, there is probable cause to believe that   Billy Granger

Jr transmitted via interstate communication a threat to injure the person of another, particularly

those persons at Nor-Lea Hospital, 1600 N Main Street, Lovington,       NM 88260, in violation of

Title   18, United States Code, Section 875(c), interstate communications.


          10. This affidavit has been reviewed and approved by Assistant United States Attorney

Mark Sa]tman.




                                                         Federal Bureau of Investigation

          Swom to and subscribed before me on     this   5'L        day of August, 2020




                                                         United States Magistrate Judge
